 1       Sidney Powell (admitted pro hac vice)
         Sidney Powell PC
 2       Texas Bar No. 16209700
         (517) 763-7499
 3
         Sidney@federalappeals.com
 4
 5       Alexander Michael del Rey Kolodin, AZ Bar No. 030826
         Alexander.Kolodin@KolodinLaw.com
 6       Christopher Viskovic, AZ Bar No. 0358601
 7       CViskovic@KolodinLaw.com
         KOLODIN LAW GROUP PLLC
 8       3443 N. Central Ave. Ste. 1009
         Phoenix, AZ 85012
 9       Telephone: (602) 730-2985
10       Facsimile: (602) 801-2539

11       Attorneys for Plaintiffs
12       (Additional counsel listed on signature page)

13                          IN THE UNITED STATES DISTRICT COURT
14
                                  FOR THE DISTRICT OF ARIZONA
15
     Tyler Bowyer, Michael John Burke, Nancy
16   Cottle, Jake Hoffman, Anthony Kern,                 Case No.: 2:20-cv-02321-DJH
     Christopher M. King, James R. Lamon, Sam
17   Moorhead, Robert Montgomery, Loraine
     Pellegrino, Greg Safsten, Salvatore Luke
18   Scarmardo, Kelli Ward and Michael Ward;             PLAINTIFFS’ MOTION IN LIMINE
19                                                       AS TO DEFENSE EXPERTS
                         Plaintiffs;
     v.
20
21   Doug Ducey, in his official capacity as
     Governor of the State of Arizona, and Katie
22   Hobbs, in her capacity as Secretary of State
     of the State of Arizona;
23
                         Defendants;
24
     Maricopa County Board of Supervisors;
25   and Adrian Fontes, in his official capacity
     as Maricopa County Recorder;
26
27                       Intervenors.

28   1
         District of Arizona admission scheduled for 12/9/2020.
 1          At the outset, Plaintiffs note that they believe making Daubert challenges is
 2   inappropriate at the preliminary injunction stage of a case. The US Supreme Court has
 3   recognized, due to the urgency of requests for preliminary injunctive relief "a preliminary
 4   injunction is customarily granted on the basis of procedures that are less formal and
 5   evidence that is less complete than in a trial on the merits." Univ. of Tex. v. Camenisch, 451
 6   U.S. 390, 395, 101 S. Ct. 1830, 1834, 68 L.Ed.2d 175, 180. Not only may a preliminary
 7   injunction be granted on the basis of declarations, but it may even be granted on the basis
 8   of unsworn statements or hearsay. Flynt Distrib. Co. v. Harvey, 734 F.2d 1389, 1394 (9th
 9   Cir. 1984). Hence, Plaintiffs’ position is that this Court should consider every piece of
10   evidence including every expert report submitted by all parties to this case and give them
11   the weight the court feels is due. On Sunday morning, counsel for Plaintiffs met and
12   conferred with counsel for Defendants and Intervenor, pursuant to this Court’s order, to
13   attempt to obtain stipulations as to the admissibility of witnesses and exhibits.
14   Unfortunately, an attorney for the Maricopa County Intervenor, derailed this meet and
15   confer with belligerent behavior and threats to “jack up” (i.e. beat up or stab)2 one of
16   Plaintiff’s attorneys and stipulations were unable to be obtained as to the admissibility of
17   any witness or exhibit.
18
            However, if, notwithstanding, the Court feels that this is the appropriate time to
19
     entertain Daubert-type challenges then Plaintiffs submit the following Objections to
20
     Defendants’ designated expert witnesses:
21

22   I.     LEGAL STANDARD
23
            The Daubert standard for expert admissibility is codified at FRE 702. However,
24
     "[T]he factors identified in Daubert may or may not be pertinent in assessing reliability,
25
     depending on the nature of the issue, the expert's particular expertise, and the subject of his
26
27
     2
      Jack something up. (n.d.) McGRaw-Hill’s Dictionary of American Slang and Colloquial
28
     Expressions. (2006). (“2. tv. to beat or stab someone. (Underworld.)”).

                                                  -2-
 1   testimony. Reliable expert testimony need only be relevant, and need not establish every
 2   element that the plaintiff must prove, in order to be admissible.” Primiano v. Cook, 598
 3   F.3d 558, 565 (9th Cir. 2010) (emphasis supplied). "Expert opinion testimony is relevant
 4   if the knowledge underlying it has a valid connection to the pertinent inquiry. And it is
 5   reliable if the knowledge underlying it has a reliable basis in the knowledge and experience
 6   of the relevant discipline." Id. (emphasis supplied).
 7
            The experts Plaintiffs have designated have knowledge and experience in the fields
 8
     of either statistics or cyber-security. The expert reports Defendants have submitted3 take the
 9
     form of rebuttal reports to Plaintiffs’ experts.
10

11          However, as more fully set forth below, unlike the experts Plaintiffs have designated,
12   only one of the experts that Defendants have disclosed holds a degree in statistics or
13   mathematics4 and none has any sort of cybersecurity background whatsoever. Accordingly
14   they lack the knowledge or experience of the relevant disciplines necessary for their reports
15   and testimony to be considered, or, at the very least, the knowledge or experience of the
16   relevant disciplines necessary to provide rebuttal testimony.
17
            1) Defendant Hobbs designated witness number 6, “Professor Rodden, Professor of
18
     Political Science, Senior Fellow at the Hoover Institution and at the Stanford Institute for
19
     Economic Policy Research, who is expected to provide expert testimony regarding the
20
     information contained in the report he submitted with the Arizona Democratic Party’s
21
     Motion to Dismiss this action, filed on 12/04/2020.
22

23

24
     3
       Defendant Hobbs attempts to incorporate the Arizona Democratic Party’s experts, and
25   presumably their reports, by reference. By filing this opposition, no admission is made
26   that this is in any way proper. Objection is additionally made to all witnesses and reports
     submitted by the Arizona Democratic Party because the Arizona Democratic Party is not a
27   party to this case.
     4
       This expert did not provide his name in his report, nor did he sign his report, nor has any
28
     party filed a motion to seal or a motion for a protective order pertaining to this expert.

                                                   -3-
 1   a.   Dr. Rodden is expected to provide expert testimony regarding the
 2   information contained in the report he submitted with the Arizona
 3   Democratic Party’s Motion to Dismiss this action, filed on 12/04/2020.
 4
     b.   Plaintiffs object to Professor Rodden’s qualification on the issues
 5
     that he is designated for, which Dr. Rodden states his qualifications as
 6
     follows: “I have expertise in the use of large data sets and geographic
 7
     information systems (GIS), and conduct research and teaching in the
 8
     area of applied statistics related to elections. My PhD students
 9
     frequently take academic and private sector jobs as statisticians and
10
     data scientists. I frequently work with geo-coded voter files and other
11
     large administrative data sets, including in recent papers published in
12
     the Annals of Internal Medicine and the New England Journal of
13
     Medicine.
14

15   c.       Dr. Rodden has a Ph.D. in political science. His undergraduate
16   degree is also in political science. He writes that he “received my Ph.D.
17   from Yale University and my B.A. from the University of Michigan,
18   Ann Arbor, both in political science.”
19
     d.          His qualifications do not attempt to suggest that he is a
20
     Statistician or an expert in the preparation and analysis of statistics.
21

22   e.   Dr. Rodden also does not submit himself as an expert in cyber
23   security, cyber forensic analysis or in the signal processing and
24   wireless signal processing domain, with an emphasis on statistical
25   signal processing.
26
27

28


                              -4-
 1                          f.   Plaintiffs further object to Dr. Rodden as an expert on the standard
 2                          of care on his anticipated testimony on statistical opinions or in the
 3                          analysis of statistics
 4
                            g. Plaintiffs further object to Dr. Rodden as an expert in cyber
 5
                            forensics or on the signal processing and wireless signal processing
 6
                            domain, with an emphasis on statistical signal processing because of
 7
                            his lack of credentials or expertise in mathematics and statistics.
 8

 9             2) Defendant-Intervenors Designated Dr. Stephen Daniel Ansolabehere who is
10   designated to opine on Dr. Briggs’ reports. Dr. Ansolabehere has a Ph.D. in political science
11   and a B.A. in political science, and while he maintains an extensive resume, including
12   having been a Professor of Political Science, Dr. Ansolabehere does not suggest that he is
13   a Statistician or an expert in the preparation and analysis of statistics or even mathematics,
14   so therefore, Plaintiffs object to testimony as it relates to the analysis of statistics or the
15   preparation thereof.
16
               3) Defendants’ designated Professor Gary King also holds only degrees in political
17
     science. He does not profess to be a Statistician or an expert in the preparation and analysis
18
     of statistics or mathematics, so Plaintiffs would seek to limit his testimony in those
19
     areas. Further Plaintiffs seek to limit his testimony on computer and cyber security cyber
20
     operation toolkits for digital forensics and would seek to limit his testimony on that
21
     subject. Defendants have stated that “[h]e further is anticipated to testify on evaluating
22
     evidence described and conclusions drawn in several Exhibits in this case offered by the
23
     Plaintiffs.” Plaintiffs object to this overbroad response which glosses over the substantive
24
     issues.
25

26             4) Defendant-Intervenors Designated a report that is unidentified but does not
27   purport to be an expert in cyber security, cyber forensic analysis or in the signal processing
28   and wireless signal processing domain, with an emphasis on statistical signal processing,

                                                     -5-
 1   and his opinions should be limited accordingly. This expert did not provide his name in his
 2   report, nor did he sign his report, nor has any party filed a motion to seal or a motion for a
 3   protective order pertaining to this expert. Plaintiffs do not see how, in fairness, his report or
 4   testimony can be considered at the same time Defendants maintain their objection to a
 5   handful of Plaintiffs’ witnesses keeping their identities. Even if this is a mere oversight and
 6   this expert has been designated, the fact that his name is not linked with his report creates
 7   prejudice to Plaintiffs in investigating and attempting to counter-this expert given the short
 8   timeframes in this litigation.
 9
            Accordingly, the Plaintiffs respectfully request that the Court either admit the experts
10
     and exhibits by every party as evidence and give them the weight they are due or prohibit
11
     the above experts from testifying and their reports from being considered.
12

13                                        Respectfully submitted this 7th day of December, 2020
14

15
     /s/ Howard Kleinhendler
16
     Howard Kleinhendler (New York Bar No. 2657120)
17   Howard Kleinhendler Esquire
     369 Lexington Ave. 12th Floor
18   New York, New York 10017
     (917) 793-1188
19   howard@kleinhendler.com
                                                                              Alexander Kolodin
20   Sidney Powell PC                                                  Kolodin Law Group PLLC
     Texas Bar No. 16209700                                                  AZ Bar No. 030826
21
     2911 Turtle Creek Blvd, Suite 300                              3443 N. Central Ave Ste 1009
22   Dallas, Texas 75219                                                     Phoenix, AZ 85012
23   *Application for admission pro hac vice
     forthcoming
24
     Of Counsel:
25   Emily P. Newman (Virginia Bar No. 84265)
     Julia Z. Haller (D.C. Bar No. 466921)
26   Brandon Johnson (D.C. Bar No. 491730)
27   2911 Turtle Creek Blvd. Suite 300
     Dallas, Texas 75219
28


                                                   -6-
     *Application for admission pro hac vice Forthcoming
 1
     L. Lin Wood (Georgia Bar No. 774588)
 2   L. LIN WOOD, P.C.
     P.O. Box 52584
 3   Atlanta, GA 30305-0584
     Telephone: (404) 891-1402
 4

 5                                                         .

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28


                                              -7-
 1                                CERTIFICATE OF SERVICE
 2

 3         I hereby certify that on December 7th, 2020, I electronically transmitted the
 4   foregoing document to the Clerk’s Office using the CM/ECF System for filing and
 5   transmittal of a Notice of Electronic Filing to the CM/ECF registrants on record.
 6

 7   By: /s/ Chris Viskovic
 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28


                                                -8-
